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                         Exhibit A

Veto of the McCarran-Walter Act
             of 1952
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Veto of Bill To Revise the Laws Relating to
Immigration, Naturalization, and
Nationality
June 25, 1952

To the House of Representatives:

I return herewith, without my approval, H.R. 5678, the proposed Immigration and
Nationality Act.

In outlining my objections to this bill, I want to make it clear that it contains certain
provisions that meet with my approval. This is a long and complex piece of legislation.
It has 164 separate sections, some with more than 40 subdivisions. It presents a
difficult problem of weighing the good against the bad, and arriving at a judgment on
the whole.

H.R. 5678 is an omnibus bill which would revise and codify all of our laws relating to
immigration, naturalization, and nationality.

Ageneral revision and modernization of these laws unquestionably is needed and
long overdue, particularly with respect to immigration. But this bill would not provide
us with an immigration policy adequate for the present world situation. Indeed, the
bill, taking all its provisions together, would be a step backward and not a step
forward. In view of the crying need for reform in the field of immigration, I deeply
regret that I am unable to approve H.R. 5678.

In recent years, our immigration policy has become a matter of major national
concern. Long dormant questions about the effect of our immigration laws now
assume first rate importance. What we do in the field of immigration and
naturalization is vital to the continued growth and internal development of the United
States--to the economic and social strength of our country-which is the core of the
defense of the free world. Our immigration policy is equally, if not more important to
the conduct of our foreign relations and to our responsibilities of moral leadership in
the struggle for world peace.

In one respect, this bill recognizes the great international significance of our
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immigration and naturalization policy, and takes a step to improve existing laws. All
racial bars to naturalization would be removed, and at least some minimum
immigration quota would be afforded to each of the free nations of Asia.

I have long urged that racial or national barriers to naturalization be abolished. This
was one of the recommendations in my civil rights message to the Congress on
February 2, 1948. On February 19, 1951, the House of Representatives unanimously
passed a bill to carry it out.

But now this most desirable provision comes before me embedded in a mass of
legislation which would perpetuate injustices of long standing against many other
nations of the world, hamper the efforts we are making to rally the men of East and
West alike to the cause of freedom, and intensify the repressive and inhumane aspects
of our immigration procedures. The price is too high, and in good conscience I cannot
agree to pay it.

I want all our residents of Japanese ancestry, and all our friends throughout the far
East, to understand this point clearly. I cannot take the step I would like to take, and
strike down the bars that prejudice has erected against them, without, at the same
time, establishing new discriminations against the peoples of Asia and approving
harsh and repressive measures directed at all who seek a new life within our
boundaries. I am sure that with a little more time and a little more discussion in this
country the public conscience and the good sense of the American people will assert
themselves, and we shall be in a position to enact an immigration and naturalization
policy that will be fair to all.

In addition to removing racial bars to naturalization, the bill would permit American
women citizens to bring their alien husbands to this country as non-quota immigrants,
and enable alien husbands of resident women aliens to come in under the quota in a
preferred status. These provisions would be a step toward preserving the integrity of
the family under our immigration laws, and are clearly desirable.

The bill would also relieve transportation companies of some of the unjustified
burdens and penalties now imposed upon them. In particular, it would put an end to
the archaic requirement that carriers pay the expenses of aliens detained at the port
of entry, even though such aliens have arrived with proper travel documents.

But these few improvements are heavily outweighed by other provisions of the bill
which retain existing defects in our laws, and add many undesirable new features.
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The bill would continue, practically without change, the national origins quota
system, which was enacted, into law in 1924, and put into effect in 1929. This quota
system-always based upon assumptions at variance with our American ideals--is long
since out of date and more than ever unrealistic in the face of present world
conditions.

This system hinders us in dealing with current immigration problems, and is a
constant handicap in the conduct of our foreign relations. As I stated in my message to
Congress on March 24, 1952, on the need for an emergency program of immigration
from Europe, "Our present quota system is not only inadequate to most present
emergency needs, it is also an obstacle to the development of an enlightened and
satisfactory immigration policy for the long-run future."

The inadequacy of the present quota system has been demonstrated since the end of
the war, when we were compelled to resort to emergency legislation to admit
displaced persons. If the quota system remains unchanged, we shall be compelled to
resort to similar emergency legislation again, in order to admit any substantial portion
of the refugees from communism or the victims of overcrowding in Europe.

With the idea of quotas in general there is no quarrel. Some numerical limitation must
be set, so that immigration will be within our capacity to absorb. But the overall
limitation of numbers imposed by the national origins quota system is too small for
our needs today, and the country by country limitations create a pattern that is
insulting to large numbers of our finest citizens, irritating to our allies abroad, and
foreign to our purposes and ideals.

The overall quota limitation, under the law of 1924, restricted annual immigration to
approximately 150,000. This was about one-seventh of one percent of our total
population in 1920. Taking into account the growth in population since 1920, the law
now allows us but one-tenth of one percent of our total population. And since the
largest national quotas are only partly used, the number actually coming in has been
in the neighborhood of one-fifteenth of one percent. This is far less than we must have
in the years ahead to keep up with the growing needs of the Nation for manpower to
maintain the strength and vigor of our economy.

The greatest vice of the present quota system, however, is that it discriminates,
deliberately and intentionally, against many of the peoples of the world. The purpose
behind it was to cut down and virtually eliminate immigration to this country from
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Southern and Eastern Europe. Atheory was invented to rationalize this objective. The
theory was that in order to be readily assimilable, European immigrants should be
admitted in proportion to the numbers of persons of their respective national stocks
already here as shown by the census of 1920. Since Americans of English, Irish and
German descent were most numerous, immigrants of those three nationalities got the
lion's share--more than two-thirds--of the total quota. The remaining third was
divided up among all the other nations given quotas.

The desired effect was obtained. Immigration from the newer sources of Southern and
Eastern Europe was reduced to a trickle. The quotas allotted to England and Ireland
remained largely unused, as was intended. Total quota immigration fell to a half or a
third--and sometimes even less--of the annual limit of 154,000. People from such
countries as Greece, or Spain, or Latvia were virtually deprived of any opportunity to
come here at all, simply because Greeks or Spaniards or Latvians had not come here
before 1920 in any substantial numbers.

The idea behind this discriminatory policy was, to put it baldly, that Americans with
English or Irish names were better people and better citizens than Americans with
Italian or Greek or Polish names. It was thought that people of West European origin
made better citizens than Rumanians or Yugoslavs or Ukrainians or Hungarians or
Baits or Austrians. Such a concept is utterly unworthy of our traditions and our ideals.
It violates the great political doctrine of the Declaration of Independence that "all men
are created equal." It denies the humanitarian creed inscribed beneath the Statue of
Liberty proclaiming to all nations, "Give me your tired, your poor, your huddled
masses yearning to breathe free."

It repudiates our basic religious concepts, our belief in the brotherhood of man, and in
the words of St. Paul that "there is neither Jew nor Greek, there is neither bond nor
free .... for ye are all one in Christ Jesus."

The basis of this quota system was false and unworthy in 1924. It is even worse now. At
the present time, this quota system keeps out the very people we want to bring in. It is
incredible to me that, in this year of 1952, we should again be enacting into law such a
slur on the patriotism, the capacity, and the decency of a large part of our citizenry.

Today, we have entered into an alliance, the North Atlantic Treaty, with Italy, Greece,
and Turkey against one of the most terrible threats mankind has ever faced. We are
asking them to join with us in protecting the peace of the world. We are helping them
to build their defenses, and train their men, in the common cause. But, through this
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bill we say to their people: You are less worthy to come to this country than
Englishmen or Irishmen; you Italians, who need to find homes abroad in the hundreds
of thousands--you shall have a quota of 5,645; you Greeks, struggling to assist the
helpless victims of a communist civil war-you shall have a quota of 308; and you Turks,
you are brave defenders of the Eastern flank, but you shall have a quota of only 225!

Today, we are "protecting" ourselves, as we were in 1924, against being flooded by
immigrants from Eastern Europe. This is fantastic. The countries of Eastern Europe
have fallen under the communist yoke--they are silenced, fenced off by barbed wire
and minefields--no one passes their borders but at the risk of his life. We do not need
to be protected against immigrants from these countries--on the contrary we want to
stretch out a helping hand, to save those who have managed to flee into Western
Europe, to succor those who are brave enough to escape from barbarism, to welcome
and restore them against the day when their countries will, as we hope, be free again.
But this we cannot do, as we would like to do, because the quota for Poland is only
6,500, as against the 138,000 exiled Poles, all over Europe, who are asking to come to
these shores; because the quota for the now subjugated Baltic countries is little more
than 700--against the 23,000 Baltic refugees imploring us to admit them to a new life
here; because the quota for Rumania is only 289, and some 30,000 Rumanians, who
have managed to escape the labor camps and the mass deportations of their Soviet
masters, have asked our help. These are only a few examples of the absurdity, the
cruelty of carrying over into this year of 1952 the isolationist limitations of our 1924
law.

In no other realm of our national life are we so hampered and stultified by the dead
hand of the past, as we are in this field of immigration. We do not limit our cities to
their 1920 boundaries--we do not hold our corporations to their 1920 capitalizations-
we welcome progress and change to meet changing conditions in every sphere of life,
except in the field of immigration.

The time to shake off this dead weight of past mistakes is now. The time to develop a
decent policy of immigration--a fitting instrument for our foreign policy and a true
reflection of the ideals we stand for, at home and abroad--is now. In my earlier
message on immigration, I tried to explain to the Congress that the situation we face
in immigration is an emergency--that it must be met promptly. I have pointed out that
in the last few years, we have blazed a new trail in immigration, through our Displaced
Persons Program. Through the combined efforts of the Government and private
agencies, working together not to keep people out, but to bring qualified people in,
we summoned our resources of good will and human feeling to meet the task. In this
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program, we have found better techniques to meet the immigration problems of the
1950's.

None of this fruitful experience of the last three years is reflected in this bill before me.
None of the crying human needs of this time of trouble is recognized in this bill. But it
is not too late. The Congress can remedy these defects, and it can adopt legislation to
meet the most critical problems before adjournment.

The only consequential change in the 1924 quota system which the bill would make is
to extend a small quota to each of the countries of Asia. But most of the beneficial
effects of this gesture are offset by other provisions of the bill. The countries of Asia
are told in one breath that they shall have quotas for their nationals, and in the next,
that the nationals of the other countries, if their ancestry is as much as 50 percent
Asian, shall be charged to these quotas.

It is only with respect to persons of oriental ancestry that this invidious discrimination
applies. All other persons are charged to the country of their birth. But persons with
Asian ancestry are charged to the countries of Asia, wherever they may have been
born, or however long their ancestors have made their homes outside the land of their
origin. These provisions are without justification.

I now wish to turn to the other provisions of the bill, those dealing with the
qualifications of aliens and immigrants for admission, with the administration of the
laws, and with problems of naturalization and nationality. In these provisions too, I
find objections that preclude my signing this bill.

The bill would make it even more difficult to enter our country. Our resident aliens
would be more easily separated from homes and families under grounds of
deportation, both new and old, which would specifically be made retroactive.
Admission to our citizenship would be made more difficult; expulsion from our
citizenship would be made easier. Certain rights of native born, first generation
Americans would be limited. All our citizens returning from abroad would be
subjected to serious risk of unreasonable invasions of privacy. Seldom has a bill
exhibited the distrust evidenced here for citizens and aliens alike--at a time when we
need unity at home, and the confidence of our friends abroad.

We have adequate and fair provisions in our present law to protect us against the
entry of criminals. The changes made by the bill in those provisions would result in
empowering minor immigration and consular officials to act as prosecutor, judge and
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jury in determining whether acts constituting a crime have been committed. Worse,
we would be compelled to exclude certain people because they have been convicted
by "courts" in communist countries that know no justice. Under this provision, no
matter how construed, it would not be possible for us to admit many of the men and
women who have stood up against totalitarian repression and have been punished for
doing so. I do not approve of substituting totalitarian vengeance for democratic
justice. I will not extend full faith and credit to the judgments of the communist secret
police.

The realities of a world, only partly free, would again be ignored in the provision flatly
barring entry to those who made misrepresentations in securing visas. To save their
lives and the lives of loved ones still imprisoned, refugees from tyranny sometimes
misstate various details of their lives. We do not want to encourage fraud. But we must
recognize that conditions in some parts of the world drive our friends to desperate
steps. An exception restricted to cases involving misstatement of country of birth is
not sufficient. And to make refugees from oppression forever deportable on such
technical grounds is shabby treatment indeed.

Some of the new grounds of deportation which the bill would provide are
unnecessarily severe. Defects and mistakes in admission would serve to deport at any
time because of the bill's elimination, retroactively as well as prospectively, of the
present humane provision barring deportations on such grounds five years after entry.
Narcotic drug addicts would be deportable at any time, whether or not the addiction
was culpable, and whether or not cured. The threat of deportation would drive the
addict into hiding beyond the reach of cure, and the danger to the country from drug
addiction would be increased.

I am asked to approve the reenactment of highly objectionable provisions now
contained in the Internal Security Act of 1950--a measure passed over my veto shortly
after the invasion of South Korea. Some of these provisions would empower the
Attorney General to deport any alien who has engaged or has had a purpose to engage
in activities "prejudicial to the public interest" or "subversive to the national security."
No standards or definitions are provided to guide discretion in the exercise of powers
so sweeping. To punish undefined "activities" departs from traditional American
insistence on established standards of guilt. To punish an undefined "purpose" is
thought control.

These provisions are worse than the infamous Alien Act of 1798, passed in a time of
national fear and distrust of foreigners, which gave the President power to deport any
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alien deemed "dangerous to the peace and safety of the United States." Alien
residents were thoroughly frightened and citizens much disturbed by that threat to
liberty.

Such powers are inconsistent with our democratic ideals. Conferring powers like that
upon the Attorney General is unfair to him as well as to our alien residents. Once fully
informed of such vast discretionary powers vested in the Attorney General, Americans
now would and should be just as alarmed as Americans were in 1798 over less drastic
powers vested in the President.

Heretofore, for the most part, deportation and exclusion have rested upon findings of
fact made upon evidence. Under this bill, they would rest in many instances upon the
"opinion" or "satisfaction" of immigration or consular employees. The change from
objective findings to subjective feelings is not compatible with our system of justice.
The result would be to restrict or eliminate judicial review of unlawful administrative
action.

The bill would sharply restrict the present opportunity of citizens and alien residents
to save family members from deportation. Under the procedures of present law, the
Attorney General can exercise his discretion to suspend deportation in meritorious
cases. In each such case, at the present time, the exercise of administrative discretion
is subject to the scrutiny and approval of the Congress. Nevertheless, the bill would
prevent this discretion from being used in many cases where it is now available, and
would narrow the circle of those who can obtain relief from the letter of the law. This
is most unfortunate, because the bill, in its other provisions, would impose harsher
restrictions and greatly increase the number of cases deserving equitable relief.

Native-born American citizens who are dual nationals would be subjected to loss of
citizenship on grounds not applicable to other native-born American citizens. This
distinction is a slap at millions of Americans whose fathers were of alien birth.

Children would be subjected to additional risk of loss of citizenship. Naturalized
citizens would be subjected to the risk of denaturalization by any procedure that can
be found to be permitted under any State law or practice pertaining to minor civil law
suits. Judicial review of administrative denials of citizenship would be severely limited
and impeded in many cases, and completely eliminated in others. I believe these
provisions raise serious constitutional questions. Constitutionality aside, I see no
justification in national policy for their adoption.
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Section 401 of this bill would establish a Joint Congressional Committee on
Immigration and Nationality Policy. This committee would have the customary
powers to hold hearings and to subpoena witnesses, books, papers and documents.
But the Committee would also be given powers over the Executive branch which are
unusual and of a highly questionable nature. Specifically, section 401 would provide
that "The Secretary of State and the Attorney General shall without delay submit to
the Committee all regulations, instructions, and all other information as requested by
the Committee relative to the administration of this Act."

This section appears to be another attempt to require the Executive branch to make
available to the Congress administrative documents, communications between the
President and his subordinates, confidential files, and other records of that character.
It also seems to imply that the Committee would undertake to supervise or approve
regulations. Such proposals are not consistent with the Constitutional doctrine of the
separation of powers.
In these and many other respects, the bill raises basic questions as to our fundamental
immigration and naturalization policy, and the laws and practices for putting that
policy into effect.

Many of the aspects of the bill which have been most widely criticized in the public
debate are reaffirmations or elaborations of existing statutes or administrative
procedures. Time and again, examination discloses that the revisions of existing law
that would be made by the bill are intended to solidify some restrictive practice of our
immigration authorities, or to overrule or modify some ameliorative decision of the
Supreme Court or other Federal courts. By and large, the changes that would be made
by the bill do not depart from the basically restrictive spirit of our existing laws--but
intensify and reinforce it.

These conclusions point to an underlying condition which deserves the most careful
study. Should we not undertake a reassessment of our immigration policies and
practices in the light of the conditions that face us in the second half of the twentieth
century? The great popular interest which this bill has created, and the criticism which
it has stirred up, demand an affirmative answer. I hope the Congress will agree to a
careful reexamination of this entire matter.

To assist in this complex task, I suggest the creation of a representative commission of
outstanding Americans to examine the basic assumptions of our immigration policy,
the quota system and all that goes with it, the effect of our present immigration and
nationality laws, their administration, and the ways in which they can be brought in
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line with our national ideals and our foreign policy.

Such a commission should, I believe, be established by the Congress. Its membership
should be bi-partisan and divided equally among persons from private life and
persons from public life. I suggest that four members be appointed by the President,
four by the President of the Senate, and four by the Speaker of the House of
Representatives. The commission should be given sufficient funds to employ a staff
and it should have adequate powers to hold hearings, take testimony, and obtain
information. It should make a report to the President and to the Congress within a
year from the time of its creation.

Pending the completion of studies by such a commission, and the consideration of its
recommendations by the Congress, there are certain steps which I believe it is most
important for the Congress to take this year.

first, I urge the Congress to enact legislation removing racial barriers against Asians
from our laws. Failure to take this step profits us nothing and can only have serious
consequences for our relations with the peoples of the far East. Amajor contribution
to this end would be the prompt enactment by the Senate of H.R. 403. That bill,
already passed by the House of Representatives, would remove the racial bars to the
naturalization of Asians.

Second, I strongly urge the Congress to enact the temporary, emergency immigration
legislation which I recommended three months ago. In my message of March 24, 1952,
I advised the Congress that one of the gravest problems arising from the present world
crisis is created by the overpopulation in parts of Western Europe. That condition is
aggravated by the flight and expulsion of people from behind the iron curtain. In view
of these serious problems, I asked the Congress to authorize the admission of 300,000
additional immigrants to the United States over a three year period. These immigrants
would include Greek nationals, Dutch nationals, Italians from Italy and Trieste,
Germans and persons of German ethnic origin, and religious and political refugees
from communism in Eastern Europe. This temporary program is urgently needed. It is
very important that the Congress act upon it this year. I urge the Congress to give
prompt and favorable consideration to the bills introduced by Senator Hendrickson
and Representative Celler (S. 3109 and H.R. 7376), which will implement the
recommendations contained in my message of March 24.

I very much hope that the Congress will take early action on these recommendations.
Legislation to carry them out will correct some of the unjust provisions of our laws,
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will strengthen us at home and abroad, and will serve to relieve a great deal of the
suffering and tension existing in the world today.
HARRYS. TRUMAN

NOTE: On June 27 the Congress passed the bill over the President's veto. As enacted,
H.R. 5678 is Public Law 414, 82d Congress (66 Stat. 163).
